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                                Nebraska Court of A ppeals A dvance Sheets
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                                           GATZEMEYER v. KNIHAL
                                            Cite as 25 Neb. App. 897



                   Carolyn Gatzemeyer and Robert Gatzemeyer,                    appellees,
                             v. Jennifer L. K nihal, appellant.
                                                 ___ N.W.2d ___

                                        Filed May 8, 2018.     No. A-17-549.

                1.	 Visitation: Appeal and Error. Determinations concerning grand­
                    parent visitation are initially entrusted to the discretion of the trial
                    judge, whose determinations, on appeal, will be reviewed de novo on
                    the record and affirmed in the absence of an abuse of the trial judge’s
                    discretion.
                2.	 Judges: Words and Phrases. A judicial abuse of discretion exists when
                    a judge, within the effective limits of authorized judicial power, elects
                    to act or refrain from action, but the selected option results in a deci-
                    sion which is untenable and unfairly deprives a litigant of a substantial
                    right or a just result in matters submitted for disposition through a judi-
                    cial system.
                3.	 Visitation: Parental Rights: Proof. A court can order grandparent
                    visitation only if the petitioning grandparent proves by clear and con-
                    vincing evidence that (1) there is, or has been, a significant beneficial
                    relationship between the grandparent and the child; (2) it is in the best
                    interests of the child that such relationship continue; and (3) such visita-
                    tion will not adversely interfere with the parent-child relationship.
                4.	 Evidence: Words and Phrases. Clear and convincing evidence means
                    that amount of evidence which produces in the trier of fact a firm belief
                    or conviction about the existence of a fact to be proved.
                5.	 Trial: Evidence: Appeal and Error. An appellate court will consider
                    the fact that the trial court saw and heard the witnesses and observed
                    their demeanor while testifying, and will give great weight to the trial
                    court’s judgment as to credibility.
                6.	 Visitation: Parental Rights. Although the Nebraska grandparent visita-
                    tion statutes recognize the interests of the child in the continuation of
                    the grandparent relationship, under Nebraska’s grandparent visitation
                    statutes as a whole, the best interests of the child consideration does
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                        GATZEMEYER v. KNIHAL
                         Cite as 25 Neb. App. 897
    not deprive the parent of sufficient protection because visitation will
    not be awarded where such visitation would adversely interfere with the
    parent-child relationship.

  Appeal from the District Court for Douglas County: M arlon
A. Polk, Judge. Affirmed.

  Benjamin M. Belmont and Wm. Oliver Jenkins, of Brodkey,
Cuddigan, Peebles, Belmont &amp; Line, L.L.P., for appellant.

  Michael B. Lustgarten and Britt H. Dudzinski, of Lustgarten
&amp; Roberts, P.C., L.L.O., for appellees.

  Moore, Chief Judge, and Pirtle and A rterburn, Judges.

  Pirtle, Judge.
                       INTRODUCTION
   Jennifer L. Knihal appeals from an order of the district court
for Douglas County granting Carolyn Gatzemeyer and Robert
Gatzemeyer grandparent visitation with Knihal’s two children.
Based on the reasons that follow, we affirm.

                       BACKGROUND
   On July 22, 2016, the Gatzemeyers filed a complaint for
grandparent visitation seeking court-ordered visitation rights
with their grandchildren, Michael Gatzemeyer and Maya
Gatzemeyer. Knihal filed an answer opposing the complaint.
During the pendency of the proceedings, the trial court
awarded the Gatzemeyers temporary visitation with Michael
and Maya, which visitation consisted of one overnight visit
every other weekend.
   The children’s parents are Knihal and Kevin Gatzemeyer,
the Gatzemeyers’ son, who is now deceased. Knihal and Kevin
were married in November 2004. Michael was born in 2004,
and Maya was born in 2006. Knihal and Kevin separated in
November 2008 and divorced in July 2010. Based on the
parenting plan, Knihal and Kevin had joint physical custody
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                     GATZEMEYER v. KNIHAL
                      Cite as 25 Neb. App. 897
of the children on a “week-on, week-off basis.” Kevin died in
March 2014.
   The Gatzemeyers’ complaint for visitation came on for
trial on April 12, 2017. Carolyn testified that starting from
the time of each child’s birth until 2010, when Knihal and
Kevin divorced, she and Robert would see the children at least
weekly, if not more. Carolyn would babysit the children when-
ever Knihal and Kevin needed her to, usually once or twice
per month, and sometimes the children would stay overnight.
Carolyn testified that the children stayed with the Gatzemeyers
on one or two occasions when Knihal and Kevin went out of
town. She would also see the children during holidays and
family events.
   Carolyn testified that after Knihal and Kevin divorced in
2010 until the time of Kevin’s death in 2014, she and Robert
would see the children at least twice during the weeks Kevin
had custody. Michael and Maya would stay overnight about
every other week. Carolyn also testified that she took the chil-
dren to daycare during Kevin’s weeks of custody and would
sometimes pick them up. She stated that she and Robert were
very active in the children’s lives.
   The Gatzemeyers also hosted family dinners every other
Sunday that were attended by Kevin, Michael, Maya, and
Kevin’s brother and his family. Carolyn testified that Michael
and Maya also attended an annual summer family trip to
Minnesota with Kevin, which included the Gatzemeyers and
other extended family members.
   Carolyn testified about the specific activities that she and
Robert would do with the children. She and Robert would take
the children to various places, including trips to a museum, a
botanical garden, and a zoo. They would also watch movies
and play cards together, which Carolyn said the children loved
to do. Carolyn also testified that Michael loved hockey and
that Kevin’s brother was a hockey coach whose sons played
hockey. The Gatzemeyers would take Michael to watch hockey
games being coached by Kevin’s brother and/or games that
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                     GATZEMEYER v. KNIHAL
                      Cite as 25 Neb. App. 897
their cousins were playing. She testified about one occasion
when Robert and Michael went to a hockey game together and
she and Maya spent that time sewing at home.
   Carolyn testified that one weekend she and Robert took
the children to a state park, where they went swimming and
hiking. Carolyn also testified that during the Minnesota trips,
Michael and Maya loved swimming, boating, and playing out-
side. Carolyn further testified that she and Robert would attend
the children’s extracurricular activities, such as Michael’s “ball
games” and football games, as often as they could.
   Carolyn testified that after Kevin died in March 2014, she
and Robert continued to have regular contact with the children
until March 2016. They would see the children “at least a cou-
ple times” per month, and the children would stay overnight
with them once or twice per month. The time spent with the
children was usually a result of Knihal’s needing someone to
watch the children. Sometimes, the children would call and ask
if they could come over. Knihal allowed Michael and Maya to
continue going to the Sunday dinners after Kevin passed away,
and they also went on the family trip to Minnesota with the
Gatzemeyers in 2014 and 2015.
   Carolyn testified that on March 9, 2016, Knihal called her
and said the Gatzemeyers “were horrible grandparents,” and
that she did not want them to have any future contact with the
children. Carolyn testified that prior to March 9, her contact
with Michael and Maya had been “regular and consistent since
they were born” and that the children always enjoyed spending
time with the Gatzemeyers.
   Robert testified and concurred with Carolyn that they have
had regular contact with the children since they were born. He
also testified that he was involved in all the events and activi-
ties with Michael and Maya that Carolyn testified about.
   The Gatzemeyers’ daughter-in-law, who was married to
Kevin’s brother, testified that she has had the opportunity to
observe the Gatzemeyers around Michael and Maya on numer-
ous occasions. She testified that Carolyn loves to interact
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                      Cite as 25 Neb. App. 897
with the children, play with them, and take them places. She
testified that Carolyn is “all about being a grandma” and that
Robert “is a great grandpa.” She also testified that the grand-
sons, including Michael, like to help Robert build and paint
items in his woodshop and that Maya “adores” Robert. She
testified that the contact between the Gatzemeyers and the chil-
dren has been regular and consistent and that the relationship
is a loving one.
   Gabriel Butler, Knihal’s boyfriend of 8 years and with
whom she has lived for 6 years, also testified. He testified that
before March 2016, the Gatzemeyers saw the children about
once per month, sometimes for the day and sometimes over-
night. He testified that after Kevin died, Michael and Maya
would behave differently for a couple days after they came
home from a visit with the Gatzemeyers. He testified they
would yell and scream, would not listen to him or Knihal, and
seemed to be upset with Knihal, even saying that she “killed”
Kevin. Butler testified that the children’s behavior after visits
interfered with Knihal’s ability to parent the children. He testi-
fied that since the temporary order has been in place, he had
observed the same type of behavior when the children came
home after visits. Butler testified that the visits under the tem-
porary order have put a strain on Knihal’s relationship with
her children.
   Butler acknowledged that Knihal had allowed regular con-
tact between the Gatzemeyers and the children from the time
of Kevin’s death in March 2014 until March 2016, despite the
children’s behavior following the visits. He testified that the
children love their grandparents and enjoy spending time with
them. Butler testified that despite the behavior of the children
after visits, he believed the children should still have contact
with the Gatzemeyers and they should be involved in each
other’s lives.
   Knihal testified that before she and Kevin separated in
2008, the children had regular contact with the Gatzemeyers.
She said she did not know how much contact the children had
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                     GATZEMEYER v. KNIHAL
                      Cite as 25 Neb. App. 897
after she and Kevin separated until he died. Knihal agreed with
Carolyn’s testimony that after Kevin died, the children would
spend time with the Gatzemeyers about once a month and
would sometimes stay overnight.
   Knihal testified that prior to March 2016, when she told
the Gatzemeyers they could no longer see the children, the
children would behave differently when they came home from
visits. She stated they would be defiant, disrespectful, and
would make hurtful statements, such as saying it was her
fault that Kevin is dead. Knihal testified that she believed the
Gatzemeyers disparaged her when the children were visiting
them. She testified that in March 2016, she “had had enough.”
Knihal testified that she called Carolyn and told her the chil-
dren are upset and angry at Knihal when they return from visits
and that Carolyn responded that what Knihal was saying was
“not true and that [she was] over-exaggerating.” Knihal told
Carolyn that she did not want the Gatzemeyers to see the chil-
dren again “until [she] was ready.”
   Knihal testified that since the temporary order has been
in effect, the children have been exhibiting the same type of
behavior after visits that they did before she ended visits in
March 2016. She believed the time the children were spend-
ing with the Gatzemeyers was interfering with her parenting
because the children would be mean and hurtful toward her
and would not listen to her after visits. She also testified that
in the month or two before trial, Maya has not wanted to attend
the court-ordered visits.
   Knihal testified that she believes it is in Michael’s and
Maya’s best interests to have contact with the Gatzemeyers, but
that she should be the one deciding when it should occur. She
is opposed to court-ordered visitation because “it undermines
[her] decision as their mother on whether or not they can see
people when they want to.”
   Carolyn testified that neither she nor Robert have ever said
anything negative about Knihal in front of the children and
have never indicated that she was somehow responsible for
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                     GATZEMEYER v. KNIHAL
                      Cite as 25 Neb. App. 897
Kevin’s death. She further testified that she has never told any-
one that she blames Knihal for Kevin’s death.
   Carolyn also denied that Knihal had ever told her that the
children had behavior issues at home after visits. She stated
that she had never heard that the children were acting out at
home until it was mentioned in this lawsuit. Robert also testi-
fied that Knihal never told him that she was having trouble
with the children after visits.
   Following trial, the court entered an order finding that the
Gatzemeyers had a significant beneficial relationship with
the children, that it was in the best interests of the chil-
dren that the Gatzemeyers be granted visitation, and that the
Gatzemeyers’ exercising visitation with the children would
not adversely impact the parent-child relationship between
the children and Knihal. The court granted the Gatzemeyers
visitation with the children during the second weekend of each
month from Saturday at 10 a.m. until Sunday at 7 p.m. The
court also ordered visitation on Christmas Eve, the weekend
before Easter, and each summer for the annual family trip
to Minnesota.

                  ASSIGNMENTS OF ERROR
   Knihal has assigned four errors, which we consolidate for
discussion into two. Knihal assigns that the trial court erred in
(1) granting the Gatzemeyers’ request for grandparent visita-
tion and (2) failing to give special weight to her determination
of her children’s best interests.

                   STANDARD OF REVIEW
   [1,2] Determinations concerning grandparent visitation are
initially entrusted to the discretion of the trial judge, whose
determinations, on appeal, will be reviewed de novo on the
record and affirmed in the absence of an abuse of the trial
judge’s discretion. Vrtatko v. Gibson, 19 Neb. App. 83, 800
N.W.2d 676 (2011). A judicial abuse of discretion exists when
a judge, within the effective limits of authorized judicial power,
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                      GATZEMEYER v. KNIHAL
                       Cite as 25 Neb. App. 897
elects to act or refrain from action, but the selected option
results in a decision which is untenable and unfairly deprives a
litigant of a substantial right or a just result in matters submit-
ted for disposition through a judicial system. Id.

                           ANALYSIS
   [3,4] Knihal first assigns that the trial court erred in grant-
ing the Gatzemeyers’ request for grandparent visitation. The
grandparent visitation statutes, Neb. Rev. Stat. §§ 43-1801to 43-1803 (Reissue 2016), permit a grandparent to seek
visitation with his or her minor grandchild in limited circum-
stances, including, as pertinent here, when the child’s parent
or parents are deceased. See § 43-1802(1)(a). A court can
order grandparent visitation only if the petitioning grandpar-
ent proves by clear and convincing evidence that (1) there
is, or has been, a significant beneficial relationship between
the grandparent and the child; (2) it is in the best interests
of the child that such relationship continue; and (3) such
visitation will not adversely interfere with the parent-child
relationship. See, § 43-1802(2); Hamit v. Hamit, 271 Neb.
659, 715 N.W.2d 512 (2006). Clear and convincing evidence
means that amount of evidence which produces in the trier of
fact a firm belief or conviction about the existence of a fact
to be proved. Nelson v. Nelson, 267 Neb. 362, 674 N.W.2d
473 (2004).
   Knihal argues that the Gatzemeyers did not prove the three
elements required under § 43-1802(2) by clear and convinc-
ing evidence. She first contends that there was not sufficient
evidence that there is, or has been, a significant beneficial
relationship between the Gatzemeyers and the children. The
evidence showed that the Gatzemeyers have had a regular
and consistent relationship with Michael and Maya from the
time they were born, in 2004 and 2006 respectively, until
March 2016, when Knihal stopped allowing the children to
spend time with them. During Knihal and Kevin’s marriage,
the Gatzemeyers spent time with the children on a regular
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                     GATZEMEYER v. KNIHAL
                      Cite as 25 Neb. App. 897
basis, sometimes having them overnight. After the divorce, the
Gatzemeyers continued to see the children during the weeks
Kevin had custody and helped Kevin get the children to and
from daycare. The children would stay overnight sometimes
as well. After Kevin died in March 2014, the Gatzemeyers
continued to have regular contact with the children for the next
2 years. The children also continued to attend Sunday family
dinners and went on the family trip to Minnesota in 2014 and
2015, as they had when Kevin was alive.
   In addition to the amount of time the Gatzemeyers spent
with the children, there was also evidence in regard to how the
time was spent together and the quality of the relationship. The
Gatzemeyers would take the children various places, such as
the museum, the zoo, or hockey games, or they would spend
time together at home watching movies or playing card games.
Carolyn also testified that she and Robert would attend the
children’s extracurricular activities when they could.
   The children’s aunt testified that Carolyn loves to interact
with the children, play with them, and take them places. The
children’s aunt further testified that the Gatzemeyers are good
grandparents and have a loving relationship with the children.
Butler testified that the children love their grandparents and
enjoy spending time with them.
   We conclude that the trial court did not abuse its discretion
in finding that the Gatzemeyers presented clear and convincing
evidence of a significant beneficial relationship with Michael
and Maya.
   Knihal also argues that the Gatzemeyers did not prove by
clear and convincing evidence that it was in the children’s
best interests that the relationship continue, nor did they prove
that visitation would not adversely interfere with Knihal’s
relationship with her children. Knihal contends that these two
elements were not met based on the evidence of the children’s
behavior after visits with the Gatzemeyers.
   Knihal testified that she ended Michael’s and Maya’s con-
tact with the Gatzemeyers in March 2016 because of the
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                     GATZEMEYER v. KNIHAL
                      Cite as 25 Neb. App. 897
children’s defiant and disrespectful behavior after visits. She
believed the Gatzemeyers disparaged her when the children
were visiting. Knihal testified that she told Carolyn about
the children’s behavior in March 2016, but that Carolyn did
not believe her. She further testified that since the temporary
visitation order has been in place, the children are behaving
the same way that they had in the past after visits. Butler
agreed that the children behave differently after visits with
the Gatzemeyers. Both Knihal and Butler testified that they
believed that the visits were interfering with Knihal’s ability
to parent her children.
   Despite Knihal’s contention that the children had behavior
issues when they returned from visits with the Gatzemeyers
after Kevin’s death, she allowed the children to continue to
spend time with the Gatzemeyers for 2 years. She also testified
that she believed it was in Michael’s and Maya’s best inter-
ests to continue to have contact with the Gatzemeyers. Butler
also testified that he believed the children should have contact
with the Gatzemeyers and they should be involved in each
other’s lives.
   Carolyn testified that neither she nor Robert have ever
said anything negative about Knihal in front of the children
and have never indicated to them or anyone else that Knihal
was somehow responsible for Kevin’s death. Carolyn also
denied that Knihal had ever told her that the children had
behavior issues at home after visiting the Gatzemeyers, and
Carolyn said that she heard the allegations for the first time
during the present litigation. Robert also testified that Knihal
never told him that the children were behaving differently
after visits.
   [5] An appellate court will consider the fact that the trial
court saw and heard the witnesses and observed their demeanor
while testifying, and will give great weight to the trial court’s
judgment as to credibility. Hamit v. Hamit, 271 Neb. 659, 715
N.W.2d 512 (2006). After hearing the witnesses, the court
apparently did not find Knihal’s or Butler’s testimony credible
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in regard to the children’s behavior following visits. We defer
to the trial court’s findings on credibility.
   As previously discussed, the Gatzemeyers have always been
involved in the children’s lives and they have spent time
together, with and without other family members, on a regular,
consistent basis. The evidence shows that the Gatzemeyers
and the children have an established, loving relationship that
is beneficial to the children. The relationship also allows
Michael and Maya to stay connected with other paternal fam-
ily members, which may not happen without visits with the
Gatzemeyers. As previously stated, Knihal believed it was in
Michael’s and Maya’s best interests to continue to have contact
with the Gatzemeyers, she just did not want it to be court-
ordered visitation.
   We conclude that the trial court did not abuse its discretion
in finding there was clear and convincing evidence that it was
in the children’s best interests that the relationship with the
Gatzemeyers continue and that visitation between the children
and the Gatzemeyers would not adversely interfere with the
parent-child relationship.
   [6] Knihal also assigns that the trial court erred in failing
to give special weight to her determination that visitation was
not in her children’s best interests. Knihal relies on principles
established in Troxel v. Granville, 530 U.S. 57, 120 S. Ct.
2054, 147 L. Ed. 2d 49 (2000), which provide that a fit par-
ent is presumed to act in the best interests of his or her child,
and although special weight is to be accorded a fit parent’s
decision regarding visitation, the presumption in favor of a
parent’s decision is rebuttable. In Hamit v. Hamit, supra, the
Nebraska Supreme Court determined that the requirements
in § 43-1802(2) satisfy the principles established in Troxel
v. Granville, supra. The Nebraska Supreme Court held that
although the Nebraska grandparent visitation statutes recognize
the interests of the child in the continuation of the grandpar-
ent relationship, under Nebraska’s grandparent visitation stat-
utes as a whole, the best interests of the child consideration
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does not deprive the parent of sufficient protection because
visitation will not be awarded where such visitation would
adversely interfere with the parent-child relationship. Hamit v.
Hamit, supra.   In the present case, the court specifically found that visi-
tation between the Gatzemeyers and the children would not
adversely impact the parent-child relationship between Knihal
and the children. The court gave Knihal’s decision regarding
visitation the weight it was entitled to based on § 43-1802(2)
and Hamit v. Hamit, supra. Knihal’s final assignment of error
is without merit.
                        CONCLUSION
   We conclude that the trial court did not err in granting
grandparent visitation to the Gatzemeyers. Accordingly, the
court’s order is affirmed.
                                                A ffirmed.
